849 F.2d 605Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Everett Etheridge GRUBB, III, Plaintiff-Appellant,v.Bliff G. BEFIELD;  Jay Farmer;  Kevin Hightower;  MarvinHartso, Defendants- Appellees.
    No. 88-6561.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  April 28, 1988.Decided:  June 8, 1988.
    
      Everett Etheridge Grubb, III, appellant pro se.
      Tyrus Vance Dahl, Jr.  (Womble, Carlyle, Sandridge &amp; Rice), for appellees.
      Before WIDENER, SPROUSE and CHAPMAN, Circuit Judges.
      PER CURIAM:
    
    
      1
      Everett Etheridge Grubb, III, appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Grubb v. Benfield, C/A No. 87-173-ST-C (W.D.N.C. Feb. 16, 1988).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    